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                                                                                                  United States Bankruptcy Court
                                   UNITED STATES BANKRUPTCY COURT                                     Southern District of Texas
                                     SOUTHERN DISTRICT OF TEXAS                                          ENTERED
                                                                                                         May 31, 2022
In     Terri Jenkins                                                                                  Nathan Ochsner, Clerk
Re:    Debtor                                              Case No.: 22−30506
                                                           Chapter: 13




                   NOTICE OF FINANCIAL MANAGEMENT COURSE REQUIREMENT

       As provided by 11 U.S.C. § 1328(g), the Court will not grant a discharge of debts in this case until Debtors
complete an approved instructional course concerning personal financial management. Debtors must complete a
financial management course and file proof of completion with the court no later than the date that the last payment is
made by the debtor as required by the plan or this case will be closed without entry of discharge thirty days after the
Trustee files a final report and account. Once the case is closed, Debtors will be required to pay a reopening fee in
order to file the proof of course completion and receive a discharge.

     NOTE: This financial management course requirement is in addition to the pre−bankruptcy credit
counseling briefing under 11 U.S.C. § 109 (h).

      A list of financial management course providers is maintained on the court's website: www.txs.uscourts.gov
under bankruptcy court information, and on the United States Trustee's website: www.usdoj.gov/ust.




Date: 5/31/22

                                                           Nathan Ochsner
                                                           Clerk of Court
